Case 2:18-cv-14250-RLR Document 25 Entered on FLSD Docket 10/29/2018 Page 1 of 1


                                          UNITED STATES DISTRICT COURT
                                          SOUTHERN DISTRICT OF FLORIDA

                             CASE NO. 2:18-CV-14250-ROSENBERG/MAYNARD

  JACOB EICHENBAUM,

            Plaintiff,

  v.

  INDIAN RIVER MEMORIAL
  HOSPITAL INC.,

        Defendant.
  ________________________________/

                  ORDER STAYING CASE AND DIRECTING THE CLERK
            OF THE COURT TO CLOSE THIS CASE FOR STATISTICAL PURPOSES

            This cause is before the Court sua sponte. The Court has been informed that the parties
  have reached a settlement agreement, DE 24. Having been informed that the parties are in
  agreement and have resolved all disputes, it is hereby ORDERED AND ADJUDGED:
            1.         This case is STAYED.
            2.         All pending deadlines are TERMINATED.
            3.         The parties are instructed to file any appropriate pleadings related to the dismissal
                       of this action within thirty (30) days of the date of rendition of this Order.
            4.         Any party may move for the stay imposed by this Order to be lifted or for an
                       extension of time to file appropriate pleadings related to the dismissal of this
                       action.
            5.         All pending motions are DENIED AS MOOT.
            6.         The Clerk of the Court is directed to CLOSE THIS CASE FOR
                       STATISTICAL PURPOSES; this closure shall not affect the merits of any
                       party’s claim.
            DONE and ORDERED in Chambers, West Palm Beach, Florida, this 26th day of
  October, 2018.
                                                              _______________________________
                                                              ROBIN L. ROSENBERG
  Copies furnished to Counsel of Record                       UNITED STATES DISTRICT JUDGE
